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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                                    CASE NO.: 1:21-CR-00579 (DLF)

       Plaintiff,
v.

BRANDON STRAKA,

      Defendant.
_____________________________/

          MOTION FOR ADMISSION OF BILAL A. ESSAYLI PRO HAC VICE

       Defendant Brandon J. Straka, through undersigned sponsor, moves that Bilal A. Essayli,

an attorney of the State of California, be admitted pro hac vice for the purpose of representing Mr.

Straka in the above-styled case. In support of this motion, the attached Declaration of Bilal A.

Essayli shows that he meets the requirements of Local Criminal Rule 44.1(d).

                                                     Respectfully submitted,

                                                     /s/ Stephen Klein
                                                     Stephen R. Klein
                                                     Bar No. 177056
                                                     BARR & KLEIN PLLC
                                                     1629 K St. N.W., Ste. 300
                                                     Washington, DC 20006
                                                     Telephone: (202) 804-6676
                                                     steve@barrklein.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of January, 2022, I filed the foregoing motion with the

Clerk of Court using the CM/ECF system, which will send a notification of electronic filing (NEF)

to Government’s counsel.


                                                     /s/ Stephen Klein
